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Nancy K. Kopp

STATE State Treasurer

TREASURER Bernadette T. Benik
Investing for Maryland’s future. Chief Deputy Treasurer

November 23, 2016
Via U.S. Certified Mail

Law Office of Kim Parker, P.A.
2123 Maryland Ave
Baltimore, MD 21218

Re: Public Information Act Request — R.K. Jeffers
Dates of Incident(s): April 19, 2013

Our Claim No.: | ES

Dear Ms. Parker:

| have received your recent correspondence dated received November 9, 2016, in which you re-request
certain records under the Maryland Public Information Act (“PIA”), Md. Code Ann., Gen. Prov. §§4-101, et
seq. You have re-requested the following: “a copy of the Maryland State Treasurer’s Policy, Standard
Operation Procedure (“SOP”) or Memorandum of Understanding (“MOU”), regarding notification to
agencies of claims that have been filed against it or its employees and served on the Maryland State
Treasurer’s Office .. . in effect for 2013 through 2016.”

Please be advised that the State Treasurer’s Office previously produced all records in its custody responsive
to your October 31, 2016 request for records. The absence of any records in the first production that
qualify as policies, SOPs, or MOU’s “regarding notification to agencies of claims that have been filed against
it or its employees and served on the Maryland State Treasurer's Office” means that no such records exist.

The State Treasurer's Office does not view your request as vague. In an effort to assist you, however, it
may be helpful to direct you to the pertinent statutory provisions that applied to your client's claim and
directed the Treasurer's action. Pursuant to Md. Code Ann., State Finance & Procurement §§ 9-101 et sea.,
the Treasurer administers the State’s Insurance Program, which includes handling claims submitted
pursuant to the Maryland Tort Claims Act (“MTCA”), Md. Code Ann., State Govt. §§ 12-101 et seq. Although
the MTCA governs claims against State agencies generally, the Maryland Transit Administration (“MTA”) is
exempted and claims against that agency are governed separately under Md. Code Ann., Transportation §
7-702. When your client’s claim against the MTA was received by the State Treasurer, as a courtesy the
adjuster notified you on October 11, 2013, that the claim should be submitted directly to MTA. In addition,
the adjuster copied the MTA’s third party administrator (Michael Fullerton, Transit Insurance Group).

Although the State Treasurer does not have any records that are responsive to your specific records request,
| have enclosed those provisions of the State Treasurer's policies relating to the processing and handling of
claims which remotely implicate initial contact adjusters may have with agencies upon receipt of a claim.
Please note, however, that because the Treasurer does not handle claims against MTA per Transportation §

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410-260-7934 Administration » 410-260-7270 Banking Services + 410-260-7155 Debt Management + 410-260-7684 Insurance + 410-260-7100 Information Technology + 410-260-7120 Investments
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7-702, these policies do not apply to claims against that agency such as your client’s. In addition, the
disclosure of these policy excerpts does not constitute a waiver to other parts of the Treasurer’s policy
which are not relevant to your client’s claim, and the Treasurer reserves all right in that regard.

Should you have any questions, please do not hesitate to contact me.
Sincerely,

Joyce Miller
Director of Insurance - Maryland State Treasurer’s Office

W/Enc.

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410-260-7934 Administration + 410-260-7270 Banking Services » 410-260-7155 Debt Management + 410-260-7684 Insurance + 410-260-7100 Information Technology + 410-260-7120 Investments
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Chapter 3 Handling Tort Claims

The Maryland Tort Claims Act (MTCA) sets forth the provisions for filing claims
with the State Treasurer’s Office. This chapter discusses resolving these claims
beginning with the analysis of coverage and gathering evidence to the evaluation

and settlement of the claimant’s damages.

A. Coverage Analysis
Determining whether or not coverage applies is of primary importance in the
handling of all claims filed under the MTCA. Upon receipt of the Notice of
Claim, the adjuster shall:

* Confirm that the entity or person alleged to be negligent falls under the
definition of “State Personnel” as defined in §12-101. If the alleged
party or entity is not defined as “State Personnel”, the claim may be
denied. (See Non-State Claims Handling.)

* Ifa specific employee is named, confirm that if the employee was
operating within the scope of employment.

* Determine whether or not the employee was grossly negligent or

malicious in his/her actions.

If the adjuster determines that the employee was operating within the scope of
employment and was not grossly negligent or did not act maliciously within
the course of his or her employment, then the adjuster should turn his/her

attention to the liability and damages part of the investigation.

 

If the adjuster determines that the employee was not acting within the scope of :
employment or was grossly negligent, the claim must be referred to the Office
of the Attorney General (OAG) through the Deputy Director for legal advice.
The Deputy Director will review the adjuster’s investigation and provide
guidance to the adjuster for preparing the request for legal advice from the
OAG.

 

 

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If additional information is required to complete the coverage analysis, the
adjuster shall contact the appropriate agency representative and request the
necessary information or evidence. The adjuster shall document the coverage

analysis and the steps taken to conclude the analysis in the claim notes.

 
IV.

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Chapter 4 Special Tort Claims Handling

There are certain tort claims that are unique to the State. These claims require

special handling. This chapter describes the most common claims and covers the

steps that shall be taking when adjusting these claims.

A. Road Hazard Claims

Road Hazard claims make up roughly twenty percent of all of the property

damage claims filed with the Treasurer’s Office. Road hazard claims

generally arise from the following conditions or actions by State personnel:

* Potholes

e Mowing operations

e Line striping operations

* Road debris/road surface irregularities

* Construction (cones, barrels, markings, utility cuts)
« Road reflectors

¢ Snow plowing and salting

The adjuster shall take the following steps when handling road hazard claims:

ed

Acknowledge receipt of the claim with the road hazard acknowledgement
letter;

Review the Notice of Claim to confirm that the claimant provided a
specific location and time where the loss occurred. If the location is not
specific enough to initiate the investigation, the adjuster must contact the
claimant and obtain the information or return the notice of claim
requesting the information needed;

Sean the Notice of Claim and save the document to the adjuster’s drive;
Forward the claim by email to the appropriate maintenance or construction
shop and include a concise statement of what information is needed for the

investigation, For example, the-adjuster may state, “The claimant reports

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4,

that he was travelling in left hand lane on westbound Rt. 214 at
approximately 10:30 p.m., on January 3, 2010, just before Mitchellville
Plaza when he struck a pothole. Please let me know if you were notified of
a pothole in the area prior to January 3, 2010.”

Follow the Review Standards for Road Hazard claims (See Review
Standards, Chapter VII).

If State Highway Administration (SHA) personnel advise the adjuster that
there was no notice of the hazard prior to the date of loss, the adjuster may
deny the claim. However, the adjuster should consider other circumstances
before denying the claim. For instance, if the hazard caused damage to
several vehicles within a short period of time, the adjuster may conclude
that the hazard, while not previously reported to SHA, may have been
obvious through a routine inspection. In that instance, payment for all of

the affected claimants may be considered.
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Non-State Claim Set-Up
If the Administration clerk determines that the claim does not involve a unit of

State government, the clerk will:

__1._ Prepare a Non-state letter to be sent to the claimant. (Specimen 5-1)

2. Forward the Non-state letter with the Notice of Claim attached to the
Deputy Director or designee.
The Deputy Director or designee will confirm the Administration clerk’s
determination of a Non-State claim. When confirmed, the Deputy Director

or designee will return the Non-State letter and Notice of Claim to the

 

 

Administration unit who will:

 

a. Enter the information on the Non-State Data base.

b, Mark the Non-State database folder with the Non-State sequential]
claim number.

c. Sign the letter and make a copy of the letter to place into the file
folder.

d. Send the letter Certified, Return Receipt requested.

 

 
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